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 6                                  sgenet@melandbudwick.com

 7 Attorneys for Christina W. Lovato, Chapter 7 Trustee
 8                           UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA
 9
     In re
10                                                      Lead Case No.: BK-19-50102-gs
     DOUBLE JUMP, INC.                                  (Chapter 7)
11
                Debtor.                                 Substantively Consolidated with:
12
                                                         19-50130-gs    DC Solar Solutions, Inc.
13
                                                         19-50131-gs    DC Solar Distribution, Inc.
14                                                       19-50135-gs    DC Solar Freedom, Inc.
15
16                                                      NOTICE OF HEARING ON MOTION TO
                                                        COMPEL PRODUCTION OF
17                                                      DOCUMENTS AND FOR TURNOVER OF
                                                        DOCUMENTS BY AND FROM NIXON
18                                                      PEABODY LLP
19
                                                        Hearing Date: June 3, 2022
20                                                      Hearing Time: 9:30 a.m.
21
22
             NOTICE IS HEREBY GIVEN that Christina Lovato, chapter 7 trustee for the
23
     substantively consolidated estates of Double Jump, Inc., DC Solar Solutions, Inc., DC Solar
24
     Distribution, Inc. and DC Solar Freedom, Inc. (“Trustee”), requests an order granting the Motion
25
     to Compel Production of Documents and for Turnover of Documents by and from Nixon Peabody
26
     LLP.
27
             NOTICE IS FURTHER GIVEN that a hearing has been scheduled before a United States
28
     Bankruptcy Judge, telephonically or via Zoom, on June 3, 2022 at 9:30 a.m. Parties intending to



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 1   appear at this hearing need to check the Court’s website for updates to the Court’s instructions
 2   regarding appearances prior to the hearing.
 3          NOTICE IS FURTHER GIVEN that any opposition must be filed pursuant to the time
 4   limits set forth in Local Rule 9014 for oppositions to a motion. Local Rule 9014(d) provides as
 5   follows:
 6          [A]ny opposition to a motion must be filed with the Clerk of the court, and service of the
            opposition must be completed on the movant, no later than fourteen (14) days preceding
 7          the hearing date for the motion. The opposition must set forth all relevant facts and any
 8          relevant legal authority. An opposition must be supported by affidavits or declarations that
            conform to the provisions of subsection (c) of this rule.
 9
     If you do object to the relief requested, you must file a WRITTEN response with the court. You
10
     must also serve your written response on the person who sent you this notice. If you do not file a
11
     written response with the court, or if you do not serve your written response on the person who
12
     sent you this notice, then:
13
            •       The court may refuse to allow you to speak at the scheduled hearing; and
14
            •       The court may rule against you without formally calling the matter at the hearing.
15
            NOTICE IS FINALLY GIVEN that a copy of the Motion can be obtained upon request
16
     from Hartman & Hartman, 510 West Plumb Lane, Suite B, Reno, NV 89509, by calling Hartman
17
     & Hartman at 1-775-324-2800, or from the United States Bankruptcy Court Clerk’s Office, 300
18
     Booth Street, Reno, NV 89509, during the office hours of 9:00 a.m. to 3:30 p.m. weekdays.
19
            DATED: May 3, 2022.
20                                                 HARTMAN & HARTMAN
21                                                 /s/ Jeffrey L. Hartman
                                                   Jeffrey L. Hartman, Esq.
22                                                 Attorney for Plaintiff Christina W. Lovato
23
                                                   MELAND BUDWICK, P.A.
24                                                 /s/ Michael S. Budwick
25                                                 Michael S. Budwick, Esq.
                                                   Solomon B. Genet, Esq.
26
                                                   Attorneys for Plaintiff Christina W. Lovato
27
28




                                                      2
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 1                                 CERTIFICATE OF SERVICE
 2         I certify that on May 3, 2022, I caused the document listed above to be served:
 3           ᤯ a. Via ECF upon the parties listed on the attached Exhibit 1;
 4           ᤯ b. On May 3, 2022, Via Direct Email to Eric H. MacMichael, Esq. at
     emacmichael@keker.com, Elliot R. Peters, Esq. at epeters@keker.com and Louis M. Bubala
 5   III, Esq., at lbubala@kcnvlaw.com and to those parties listed below:
 6                mara@bayareadrainage.com;
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 7                deboltcivil@earthlink.net;
                  jqyu1089@yahoo.com;
 8                lesterray420@gmail.com;
 9                rbpainting66@yahoo.com;
                  cromero@sfandb.com;
10                21techlife@gmail.com;
                  waterbilling@cityofmartinez.org;
11                fredsfloorcovering@gmail.com;
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22
           I declare under penalty of perjury that the foregoing is true and correct.
23
           Dated: May 3, 2022.
24                                                      /s/ Michael S. Budwick
25                                                      Michael S. Budwick, Esquire

26
27
28




                                                   3
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Mailing Information for Case 19-50102-gs

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service for this case.


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                                                                                                                             EXHIBIT 1                 1/2
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